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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT H. and KATHLEEN Q. SWOPE, : NO.
Administrators of the Estate of Adam H. '
Swope, Deceased
Plaintiffs
vs. § JURY TRIAL DEMANDED
YAMIN & SONS TRANSPORTATIGN, LLC
and

SAMUEL RODRIGUEZ

Defendants
COMPLAINT

l. Plaintiffs, Robeit H. and Kathleen Q. SWOpe, are husband and Wife, Who reside at
the premises known as 1541 Concord Road, Wyomissing, Berks Ccunty, Pennsylvania l96lO.
Plaintiffs are citizens cf the Cornmonwealth of Pennsylvania and are the Administrators Of the
Estate cf their deceased son, Adam H. Swope, Letters cf Administration having been issued by
the Register of Wills 0f Chester, County, Pennsylvania, on Decernber 18, 2017, Which Letters
remain in full force and effect

2. Defcndant, Yamin & Sons Transportation, LLC, is a Connecticut limited liability
ccmpany, With its principal place of business being 332 Old Maple Avenue, North Haven,
Connecticut 06473.

3. Defendant, Sarnuel Rodriguez, is an adult individual and a citizen cf South

Carolina, Who resides at 2040 Ashley River Rcad 4, Charlestcn, Scuth Carolina 29407.

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4. Jurisdiction is vested in this federal court pursuant to 28 U.S.C. 1332 et seq. in
that the parties are diverse and the claims exceed Seventy-five Thousand Dollars ($75,000.00).

5. Venue is proper in the United States District Court for the Eastern District of
Pennsylvania in that the motor vehicle accident Which forms the basis for this cause of action,
occurred in Chester County, Pennsylvania, Which is also the County Where Adam H. SWope
resided prior to his death. In addition, Plaintiffs reside in Wyomissing, Berl<s County,
Pennsylvania, Which is also Within the jurisdiction for the United States District Court for the
Eastern District of Pennsylvania.

6. On November 11, 2017, Adam H. SWope Was operating his Honda Civic motor
vehicle on S.R. 202 at the intersection With Matlack Street in Chester County, and Was stopped
for a red light at the intersection

7. As Adam H. SWope’s car Was stopped at the intersection, a tractor trailer driven
by Samuel Rodriguez, and owned by Yamin & Sons Transportation, LLC, ran a red light for
traffic on S.R. 202 north, and crashed into a vehicle being driven by Michael Alyanakian of 1124
Cross Street, Philadelphia, Pennsylvania.

8. After the impact With the Alyanakian motor vehicle, the tractor trailer proceeded
to continue across S.R. 202 into the opposing lanes of traffic, flipped on its side and crashed into
the driver’s side of Adam H. SWope’s motor vehicle, inflicting fatal injuries to Adam H. SWope.

9. At the time of his death, Adam H. SWope, Was survived by his parents, the

Administrators herein, Who are also his heirs-at-law.

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CoUNT I - WRoNGFUL DEATH
FIRST CAUSE oF ACTIoN
PLAINTIFFS v. YAMIN & SoNs TRANSPORTATIoN, LLC

10. Plaintiffs incorporate paragraphs one through nine, and seventeen, as if the same
Were set forth more fully at length herein.

11. Plaintiffs bring this cause of action pursuant to 42 Pa.C.S.A. 8301, er seq.

12. Defendant is liable for the acts of its agents, servants, employees and all other
persons acting on its behalf under the doctrine of respondeat superior

13. Plaintiffs, as the heirs at laW, have sustained losses as a result of the death of their
son, including economic support, loss of love, comfort, society, friendship, guidance and
affection, together With claims for funeral expenses and administrative costs incurred by
Plaintiffs as Administrators of the Estate.

14. Defendant is liable for all of the injuries and losses as hereinabove set forth based

on its negligence, Which negligence includes the following:

A. Failing to properly train and supervise its driver, Samuel Rodriguez;
B. Failing to have safe driver requirements and protocols in place;
C. Failing to employ drivers Who Were safe and properly trained to drive

tractor trailers; and

D. Failing to properly load freight in the trailer being transported by
Defendant’s tractor.
15 . Defendant is also liable for all of the negligent acts of Defendant, Rodriguez, as

hereinafter set forth, on the basis of respondeat superior

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WHEREFORE, Plaintiffs demand judgment against Defendant, Yamin & Sons
Transportation, LLC, in an amount in excess of Seventy-five Thousand Dollars ($75,000.00),
together with interest and costs of this proceeding

CoUNT I - WRoNGFUL DEATH
SECoND CAUSE oF ACTIoN
PLAINTIFFS v. SAMUEL RoDRlGUEz

16. Plaintiffs incorporate paragraphs one through fifteen above as if the same were set
forth more fully at length herein.

17. The losses pursuant to the Wrongful Death Act of Pennsylvania, 42 Pa.C.S.A.
8301, et seq., are all the direct and proximate result of the negligence of the Defendant, Samuel
Rodriguez, which negligence includes the following:

A. Driving too fast for conditions then and there existing;

B. Failing to be able to bring his vehicle to a stop prior to driving through an
intersection controlled by a red light for traffic on S.R. 202 at the time that Defendant,
Rodriguez, was operating his vehicle at that locale;

C. Failing to recognize that traffic for his lane of travel was controlled by a
red light requiring him to stop prior to entering the intersection;

D. Driving in a careless manner in total disregard of the safety of others
including, Plaintiffs’ decedent; and

E. Violating the laws of the Commonwealth of Pennsylvania as they relate to
the safe operation of motor vehicles, and particularly, the laws dealing with traffic signals

controlling intersections

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WHEREFORE, Plaintiffs demand judgment against Defendant, Samuel Rodriguez, in an
amount in excess of Seventy-frve Thousand Dollars ($75,000.00), together with interest and
costs of this proceeding

CoUNT II - SURvIvAL ACTION
FleT CAUSE oF ACTION
PLAINTIFFS v. YAMIN & SoNs TRANsPoRTATIoN, LLC

18. Plaintiffs incorporate paragraphs one through seventeen above as if the same were
set forth more fully at length herein.

19. Plaintiffs bring this action pursuant to the Survival Act of Pennsylvania, 42
Pa.C.S.A. 8302 and 20 Pa.C.S.A. 3371.

20. As a direct and proximate result of the negligence of Yamin & Sons
Transportation, LLC and its agent, Samuel Rodriguez, Defendant is liable for all losses pursuant
to the Survival Act of Pennsylvania, including loss of income, loss of earning capacity net, pain
and Suffering, mental anguish, and all of the losses permitted under the Survival Act of
Pennsylvania.

WHEREFORE, Plaintiffs demand judgment against Defendant, Yamin & Sons
Transportation, LLC, in an amount in excess of Seventy-frve Thousand Dollars ($75,000.00),
together with interest and costs of this proceeding

CoUNT II - SURvIvAL ACTIoN
SECoND CAUSE oF ACTIoN
PLAINTIFFS v. SAMUEL RoDRIGUEz
21. Plaintiffs incorporate paragraphs one through twenty as if the same were set forth

more fully at length herein.

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22. Defendant, Samuel Rodriguez, is liable to the Estate for all losses under the
Survival Act of Pennsylvania as a result of his negligence as herein set forth.

WHEREFORE, Plaintiffs demand judgment against Defendant, Samuel Rodriguez, in an
amount in excess of Seventy-five Thousand Dollars ($75,000.00), together with interest and
costs of this proceeding

Respectfully submitted,

LErsAerz HELLER A§§§MoWITCH PHILLlPs, P.C.

 

 

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